                 Case:4:19-cv-06812-JST
                 Case  22-16100, 07/26/2022, ID: 12502432,
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                                       Office of the Clerk
                      United States Court of Appeals for the Ninth Circuit
                                     Post Office Box 193939
                              San Francisco, California 94119-3939
                                          415-355-8000
Molly C. Dwyer
Clerk of Court                              July 26, 2022


       No.:         22-16100
       D.C. No.: 4:19-cv-06812-JST
       Short Title: ALDF v. Debra Haaland, et al


       Dear Appellants/Counsel

       A copy of your notice of appeal/petition has been received in the Clerk's office of
       the United States Court of Appeals for the Ninth Circuit. The U.S. Court of
       Appeals docket number shown above has been assigned to this case. You must
       indicate this Court of Appeals docket number whenever you communicate with
       this court regarding this case.

       Motions filed along with the notice of appeal in the district court are not
       automatically transferred to this court for filing. Any motions seeking relief from
       this court must be separately filed in this court's docket.

       Please furnish this docket number immediately to the court reporter if you place an
       order, or have placed an order, for portions of the trial transcripts. The court
       reporter will need this docket number when communicating with this court.

       The due dates for filing the parties' briefs and otherwise perfecting the appeal
       have been set by the enclosed "Time Schedule Order," pursuant to applicable
       FRAP rules. These dates can be extended only by court order. Failure of the
       appellant to comply with the time schedule order will result in automatic
       dismissal of the appeal. 9th Cir. R. 42-1.
      Case:4:19-cv-06812-JST
      Case  22-16100, 07/26/2022, ID: 12502432,
                              Document          DktEntry:
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                 UNITED STATES COURT OF APPEALS
                                                                   FILED
                        FOR THE NINTH CIRCUIT
                                                                   JUL 26 2022
                                                                  MOLLY C. DWYER, CLERK
                                                                   U.S. COURT OF APPEALS




ANIMAL LEGAL DEFENSE FUND,                   No. 22-16100

            Plaintiff - Appellee,
                                             D.C. No. 4:19-cv-06812-JST
 v.                                          U.S. District Court for Northern
                                             California, Oakland
DEBRA ANNE HAALAND, U.S.
Secretary of the Interior; UNITED            TIME SCHEDULE ORDER
STATES FISH AND WILDLIFE
SERVICE; GINA RAIMONDO, U.S.
Secretary of Commerce; NATIONAL
MARINE FISHERIES SERVICE,

            Defendants - Appellees,

 v.


AMERICAN FARM BUREAU
FEDERATION; AMERICAN FOREST
RESOURCE COUNCIL; AMERICAN
PETROLEUM INSTITUTE; FEDERAL
FOREST RESOURCE COALITION;
NATIONAL ALLIANCE OF FOREST
OWNERS; NATIONAL
ASSOCIATION OF HOME
BUILDERS; NATIONAL
CATTLEMEN'S BEEF
ASSOCIATION; PUBLIC LANDS
COUNCIL,

  Intervenor-Defendants - Appellants,
        Case:4:19-cv-06812-JST
        Case  22-16100, 07/26/2022, ID: 12502432,
                                Document          DktEntry:
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                                                     07/26/22    Page 33 of
                                                                         of 44




  and

 KENNETH KLEMM; BEAVER
 CREEK BUFFALO CO.;
 WASHINGTON CATTLEMEN'S
 ASSOCIATION; PACIFIC LEGAL
 FOUNDATION; STATE OF
 ALABAMA; STATE OF ALASKA;
 STATE OF ARIZONA, ex rel. the
 Arizona Game and Fish Commission;
 STATE OF ARKANSAS; STATE OF
 IDAHO; STATE OF KANSAS; STATE
 OF MISSOURI; STATE OF
 MONTANA; STATE OF NEBRASKA;
 STATE OF NORTH DAKOTA;
 STATE OF UTAH; STATE OF WEST
 VIRGINIA; STATE OF WYOMING,

               Intervenor-Defendants.



The parties shall meet the following time schedule.

If there were reported hearings, the parties shall designate and, if necessary, cross-
designate the transcripts pursuant to 9th Cir. R. 10-3.1. If there were no reported
hearings, the transcript deadlines do not apply.

Tue., August 2, 2022          Appellants' Mediation Questionnaire due. If your
                              registration for Appellate CM/ECF is confirmed after
                              this date, the Mediation Questionnaire is due within
                              one day of receiving the email from PACER
                              confirming your registration.
Wed., August 24, 2022         Transcript shall be ordered.
Fri., September 23, 2022      Transcript shall be filed by court reporter.
Tue., November 1, 2022        Appellants' opening brief and excerpts of record
                              shall be served and filed pursuant to FRAP 31 and
                              9th Cir. R. 31-2.1.
       Case:4:19-cv-06812-JST
       Case  22-16100, 07/26/2022, ID: 12502432,
                               Document          DktEntry:
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                                                                        of 44

Thu., December 1, 2022       Appellees' answering brief and excerpts of record
                             shall be served and filed pursuant to FRAP 31 and
                             9th Cir. R. 31-2.1.

The optional appellants' reply brief shall be filed and served within 21 days of
service of the appellees' brief, pursuant to FRAP 31 and 9th Cir. R. 31-2.1.

Failure of the appellants to comply with the Time Schedule Order will result
in automatic dismissal of the appeal. See 9th Cir. R. 42-1.

                                              FOR THE COURT:

                                              MOLLY C. DWYER
                                              CLERK OF COURT

                                              By: Ruben Talavera
                                              Deputy Clerk
                                              Ninth Circuit Rule 27-7
